UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

 

 

X
MICHAEL PRINCE
DOCKET NO.
Plaintiff, 20-CV-1935
AMENDED
- against - COMPLAINT
THE CITY OF NEW YORK, and POLICE OFFICERS TRIAL BY JURY
HENRY GREGOREK, Shield No. 5126, ANDREW DEMANDED
MCKEON, Shield No. 10380, DANIEL TRAYLOR, Shield
No. 2758, and DUKE TORTORICI, Shield No. 11136,
Defendants.
X

 

PRELIMINARY STATEMENT

The plaintiff brings this action against all defendants pursuant to 42 U.S.C. Section
1983 and 1988, the Fourth and Fourteenth Amendments to the United States
Constitution, and under the common law of the State of New York against THE CITY OF
NEW YORK, and POLICE OFFICERS HENRY GREGOREK, Shield No. 5126, ANDREW
MCKEON, Shield No. 10380, DANIEL TRAYLOR, Shield No. 2758, and DUKE
TORTORICI, Shield No. 11136 to redress the deprivation under color of law of plaintiff's
rights, privileges and immunities secured by the Constitution of the United States.
Plaintiffs seek money damages to redress and remedy the deprivations of his
constitutional rights. In addition, plaintiffs invoke the pendant jurisdiction of this court over
related, ancillary and pendent state law claims. Plaintiff seeks an award of attorneys' fees
and costs pursuant to 42 U.S.C. Section 1988 and pursuant to any other laws that may
apply.

It is alleged that the individual police officer defendants made an unreasonable
search and seizure of the person of plaintiff violating his rights under the Fourth and
Fourteenth Amendments to the United States Constitution, and that these defendants
assaulted and battered the person of plaintiff falsely arrested him, imprisoned him, and
subjected him to malicious prosecution. It is further alleged that these violations and torts

were committed as a result of the policies, practices and customs of THE CITY OF NEW
YORK, and THE NEW YORK CITY POLICE DEPARTMENT
JURISDICTION AND VENUE

4. This action is brought pursuant to 42 U.S.C. Section 1983 and 1988 to
redress the plaintiff's rights under the Constitution of the United States. Jurisdiction is
based upon 28 U.S.C. Sections 1331 and 1343.

2. This court has jurisdiction over the plaintiffs state law claims under the
doctrine of pendent jurisdiction.

3. All of the actions, omissions, and events complained of took place within
the County of New York, City and State of New York, and within the venue of this court.

4. The amount in controversy exclusive of interests and costs exceeds the
sum of $100,000.

PARTIES

5: The plaintiff is a citizen of the United States and a resident of the County
of New York, State of New York.

6. Defendant THE CITY OF NEW YORK (Hereinafter referred to as
"THE CITY") is a body corporate and politic, duly organized and existing under and by
virtue of the laws of the State of New York, and pursuant to law is capable of suing and
being sued in this court.

hs At all times hereinafter mentioned THE NEW YORK CITY POLICE
DEPARTMENT (Hereinafter referred to as “NYPD”) was and still is a subdivision subject
to the control of the THE CITY.

8. Upon information and belief, NYPD is a division of THE CITY
organized and existing under and by virtue of the laws of THE CITY and the State of New
York.

9. Defendant THE CITY is responsible for the policies, practices and
customs of NYPD.

10. Defendant THE CITY is responsible for the hiring training, supervision,

retention, control and discipline of NYPD and its officers.
11. | Defendant THE CITY is and was the employer of the personnel named
herein as individual defendants.

12. Defendant THE CITY is also responsible for the operation, practices, and
totality of conditions of the NYPD.

13. | NYPD is responsible for the policies, practices and customs of NYPD.

14. | NYPD is responsible for the hiring training, supervision, retention, control
and discipline of NYPD and their officers.

15. |NYPDisand was the employer of the personnel named herein as individual
defendants.

16. NYPD is also responsible for the operation, practices, and
totality of conditions of the NYPD.

17. | THE CITY acts, or fails to act through its policy-making officials including
but not limited to its supervisor, town board, and the chief of the NYPD; the acts and
edicts of these policy making officials represent also the policies, practices and customs
of THE CITY.

18. THE CITY and NYPD have, jointly and severally, a constitutional and
statutory responsibility for the conditions at the NYPD and are jointly and severally
responsible for ensuring that the operations of the 25 precinct are in conformity with
constitutional requisites.

19. THE CITY and NYPD are and were jointly and severally responsible for
ensuring that the police officers of the NYPD and more specifically those officers named
as defendants herein, obeyed the regulations of the NYPD, THE CITY, the ordinances
and laws of THE CITY, and the laws and the Constitution of the State of New York and
the United States.

20. Defendants, THE CITY OF NEW YORK, and POLICE OFFICERS HENRY
GREGOREK, Shield No. 5126, ANDREW MCKEON, Shield No. 10380, DANIEL
TRAYLOR, Shield No. 2758, and DUKE TORTORICI, Shield No. 11136 police officers

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of THE NEW YORK CITY POLICE DEPARTMENT, are and were police officers of the
NYPD and employees of the NYPD and of THE CITY, and at all times herein were acting
in such capacity as the agents, servants and employees of NYPD and THE CITY.

21. The defendant officers were at all times relevant to this complaint duly
appointed and acting officers of the NYPD and of THE CITY, acting under color of law;
to wit, under color of the statutes, ordinances, regulations, policies, customs and usages
of the State of New York and THE CITY and NYPD.

22.  Atall times relevant hereto and in all of their actions described herein, each
defendant was acting under color of law, state authority, statute, custom or usage, and
pursuant to their official authority. All of the actions were done intentionally.

FACTS

23. On07/22/19, plaintiff was lawfully present at Lexington Avenue between
116" and 117" St., County of New York, City and State of NY, having just exited his home
and gone to the pizza place at 117" and Lexington Ave. Plaintiff was ordering food. One
of the officers, either Police officer HENRY GREGOREK, Shield No. 5126, or ANDREW
MCKEON, Shield No. 10380, or DANIEL TRAYLOR, Shield No. 2758, or DUKE
TORTORICI, Shield No. 11136 came into the pizza store and accosted the plaintiff, and
said why are you smoking in the store, and plaintiff denied that he was. The officer said
step outside and plaintiff voiced objection. Then the officer began pulling on plaintiff when
he stepped outside the store, and plaintiff advised him he was not doing anything wrong -
to leave him alone. The officer then continued pulling on plaintiff in the middle of the
street, a patrol car drove up and other officers then grabbed plaintiff, roughly threw him
on the floor, he was rear cuffed, and his left shoulder was internally deranged. These
officers all had body cameras. However the arresting officer intentionally covered his.
Another of the officers even advised plaintiff he did not agree with the arrest but had to
back up the arresting officer. Plaintiff was taken in a vehicle to the precinct where he

remained for 6 hours, He remained another 6 hours in central bookings. Then he went

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back and forth to court about 6-7 times and the case was dismissed.

24. Plaintiff was lawfully present at the location when Defendants intentionally
assaulted and battered the plaintiff herein as specified above in the course of effectuating
a false arrest without probable cause to believe the claimant herein had committed any
crime or offense.

25. Plaintiff was verbally abused and subjected to verbal intimidation by
POLICE OFFICERS HENRY GREGOREK, Shield No. 5126, ANDREW MCKEON,
Shield No. 10380, DANIEL TRAYLOR, Shield No. 2758, and DUKE TORTORICI, Shield
No. 11136

26. ‘Plaintiff was roughly cuffed hands behind his back, and transported to
the 25" Pct, and from there to Central Booking, and remained in custody for over 12
hours. Thereafter the case was dismissed on 01/17/20.

27. Plaintiff had not resisted or assaulted the defendants in any way, and such
force as was used against them was unnecessary, unreasonable, and excessive.

28. Atno time during the events described above was the plaintiff
intoxicated, incapacitated or disorderly, or a threat to the safety of himself or others. He
had committed no criminal offenses.

29. The defendants had no warrant for the arrest of the plaintiff, no probable
cause for the arrest of the plaintiff, and no legal excuse or cause to enter the premises
where he was waiting for his food, perform an unconstitutional search and seize the
person of the plaintiff.

30. Defendants did not enter pursuant to a valid search warrant.

31. Defendants did not present a copy of a search warrant to plaintiff.

32. If a warrant was in the officers possession, they did not enter at a manner
or at a time authorized by the warrant.

33. | Upon information and belief,. Plaintiff was not listed as or described

suspect or target on any warrant or application for any warrant.

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34. Defendants charged plaintiffs with a panoply of crimes, yet they knew
he had not committed them.

35. | The officers had no probable cause to arrest the plaintiff for these crimes,
or any others.

36. Atno time did the defendants possess information that would lead a
reasonable police officer to believe that probable cause existed to arrest plaintiff

37.  Atall times during the events described above, the defendant police
officers were engaged in a joint venture. The individual officers assisted each other in
performing the various actions described, and lent their physical presence and support
and the authority of their office to each other during said events.

38. All of the above acts were done both individually and in concert and
intentionally and while acting under color of law, and in the scope of employment with
THE CITY and the NYPD. It was a conspiracy to deprive the plaintiffs of their civil rights
guaranteed under the Constitution of the State of New York and the United States and
the laws of New York State and the laws of the United States.

39. THE CITY and the NYPD had a policy of not training their employees with
respect to the proper use of force and allowing persons such as plaintiffs herein to be
assaulted, battered and improperly searched and seized.

40. If THE CITY and NYPD had a policy of training their employees with
respect to the proper use of force, same was not enforced.

41. | Oninformation and belief, the abuse to which the plaintiff was subjected
was consistent with an institutionalized practice of THE CITY and the NYPD which was
known to them and/or ratified by THE CITY and the NYPD, with the defendants at no time
having taken any effective action to prevent their employees from continuing to engage
in such misconduct and violation of constitutional rights and violations of law.

42. On information and belief, defendant THE CITY and the NYPD had prior

notice of the vicious propensities of the individual defendants but took no steps to train

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them, correct their abuse of authority, or to discourage their unlawful use of authority or
to terminate their employment. The failure to properly train defendants included the failure
to instruct them in applicable sections of the New York State Penal Law, and proper use
of force, and failed to properly train them with respect to the constitutional rights of
citizens.

43. On information and belief THE CITY and the NYPD authorized, tolerated
as institutional practices, and ratified the misconduct heretofore described.

44. Asadirect and proximate result of the said acts of the defendants, and the
abuse of authority detailed above, the plaintiffs suffered the following injuries and
damages:

a. Violation of their constitutional rights under
the Fourth and Fourteenth Amendments to the
United States Constitution to be free from an
unreasonable search and seizure to their
person:

b. Loss of their physical liberty:

c. Physical pain and suffering and emotional
trauma and suffering, requiring expenditure of
money for treatment.

45. The actions of the defendant officers violated the following clearly
established and well settled federal constitutional rights of plaintiff:

a. Freedom from unreasonable search and
seizure of his person.
b. Freedom from the use of excessive,

unreasonable and unjustified use of force
against his person.

FEDERAL CAUSES OF ACTION
COUNT |
42 U.S.C. SECTION 1983 AGAINST INDIVIDUAL DEFENDANTS
46. Paragraphs 1 through 45 are incorporated herein by reference as though
fully set forth.
47. Plaintiff claims damages for the injuries set forth above under 42 U.S.C.
Section 1983 against defendants POLICE OFFICERS HENRY GREGOREK, Shield No.
5126, ANDREW MCKEON, Shield No. 10380, DANIEL TRAYLOR, Shield No. 2758, and
DUKE TORTORICI, Shield No. 11136 for violation of his constitutional rights under color
of law, in an amount to be determined by a jury after due trial.

COUNT II
42 U.S.C. SECTION 1983 AGAINST THE CITY AND THE NYPD

48. Paragraphs 1-47 are incorporated herein by reference as though fully set
forth.

49. Prior to July 22, 2019, THE CITY and the NYPD developed and
maintained policies or customs exhibiting deliberate indifference to the constitutional
rights of persons in THE CITY, which caused the violation of plaintiff's rights.

50. _—‘It was the policy and/or custom of THE CITY and the NYPD to
inadequately and improperly investigate citizen complaints of police misconduct, and acts
of misconduct were instead tolerated by THE CITY and the NYPD.

51. ‘It was the custom and policy of THE CITY and the NYPD to inadequately
supervise and train and retain and hire their police officers including the defendant
officers, thereby failing adequately to discourage further constitutional violations on the
part of their police officers. THE CITY and the NYPD did not require appropriate in-
service training or re-training of officers who were known to have engaged in police
misconduct.

52. Asaresult of the above described policies and customs, police officers of
THE CITY and the NYPD, including the defendant officers believed that their actions
would not be properly monitored by supervisory officers and that misconduct would not
be sanctioned or investigated, but would be tolerated.

53. The above described policies and customs demonstrated a deliberate

indifference on the part of the policymakers of THE CITY and the NYPD to the

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constitutional rights of persons within THE CITY and were the cause of the violations of
plaintiff's rights alleged herein.

54. Plaintiff claims damages for the injuries set forth above under 42 U.S.C.
Section 1983 against THE CITY and the NYPD for violation of his constitutional rights

under color of law, in an amount to be determined by a jury after due trial.

COUNT Ill. ASSAULT AND BATTERY

55. The allegations of Paragraphs 1-54 are incorporated by reference herein
as though fully set forth.

56. ‘The individual defendants were working within the scope of their authority
when they committed the actions described above generally and specifically those actions
delineated in paragraphs 23-45 above, and thereby assaulted and battered the plaintiff.

57. |The assault and battery aforesaid were without probable cause.

58. The individual defendants were working within the scope of their
employment when they committed the actions described above generally and specifically
those actions delineated in paragraphs 23-45 above, and thereby assaulted and battered
the plaintiff.

59. The individual defendants were careless and reckless and negligent in that
they did not stop or restrain their fellow officers from assaulting the plaintiff.

60. Asaresult of the aforesaid assault and battery, the plaintiff sustained
serious and permanent personal injuries, along with humiliation, shame, indignity,
damage to reputation and suffered emotional distress, in an amount to be determined by

a jury after due trial.

COUNT IV FALSE ARREST AND IMPRISONMENT
61. The allegations of Paragraphs 1-60 are incorporated by reference herein
as though fully set forth.

62. The individual defendants were working within the scope of their authority
when they committed the actions described above generally and specifically those actions
delineated in paragraphs 23-45 above, and thereby confined the plaintiff without
privilege.

63. |The confinement aforesaid was without probable cause or privilege.

64. The individual defendants were working within the scope of their
employment when they committed the actions described above generally and specifically
those actions delineated in paragraphs 23-45 above, and thereby confined the plaintiff
without privilege.

65. The individual defendants were careless and reckless and negligent in that
they did not stop or restrain their fellow officers from confining the plaintiff.

66  Asaresult of the aforesaid confinement, the plaintiff sustained serious and
permanent personal injuries, along with humiliation, shame, indignity, damage to
reputation and suffered emotional distress, in an amount to be determined by a jury after
due trial.

COUNT V. MALICIOUS PROSECUTION

67. The allegations of paragraphs 1-66 are incorporated by reference herein
as though fully set forth.

68. On July 17, 2019, defendants filed several false and legally
insufficient criminal complaints against the plaintiff herein.

69.  Atthe time of said filing, the defendants knew that said complaints were
false and legally insufficient. Said complaints were dismissed as such.

70. Defendants acted wilfully, maliciously, recklessly, wantonly, and with

intent to injure the plaintiffs, each and every one of plaintiffs herein.

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71. | Atthe time of said filing, the defendants knew that said complaints were
false and legally insufficient. Said complaints were dismissed as such.

72. Defendants acted wilfully, maliciously, recklessly, wantonly, and with
intent to injure the plaintiffs, each and every one of them.

73. Asaresult of the aforesaid malicious prosecution, the plaintiff sustained
serious and permanent personal injuries, along with humiliation, shame, indignity,
damage to reputation and sufferred extreme emotional distress, in an amount
exceeding the jurisdictional limits of all lower courts

Wherefore, the plaintiff requests that this Court:

a. Award compensatory damages to the
plaintiff against the defendants, jointly and
severally in an amount to be determined by a
jury after due trial. Not less than one million
dollars ($1,000,000)

b. Award the costs of this action to the
plaintiff.

c. Award reasonable attorneys fees to the
plaintiff under 42 U.S.C. Section 1988 and/or
any other applicable laws.

d. Award punitive damages in an amount to
be determined by a jury after due trial. Not
less than one million dollars ($1,000,000)

e. Award such other and further relief as this
Court may deem appropriate.

  
  
  

Dated: Carmel, New York
August 10, 2020

 

S OF JOHN P. GRILL, PC

Carmel, NY 1
(917) 607-
VERIFICATION

The undersigned, being an attorney admitted to the practice of law in the courts of
the State of New York, and the United States District Courts for the Eastern and Southern
Districts, deposes and states that | am the attorney of record for the plaintiff in this matter,
that | have read the contents of the complaint, and know same to be true, except those
matters stated to be alleged upon information and belief, and as to those matters | believe
them to be true. My belief as to those matters therein not stated upon knowledge is based
upon information, data, memoranda, records given to me and maintained in a file in my
office. The reason | make this verification is that the petitioner is not located in the County
where affirmant’s office is located.

| affirm that the foregoing statements are true under penalty of perjury.

Dated: Carmel, NY
August 10, 2020

 
